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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORID A



                        Case No . d - ~-    Wj                                                Ie-S
                                    18 USC §     922(g)(1 )
                                    18 USC §     922(k)
                                    18 USC §     924(a)(1 )
                                    18 USC §     924(e )



  UNITED STATES OF AMERICA ,

                        Plaintiff ,

  vs .                                                          APR 14 2005
                                                                 CLERK U .S . DIST . CT .
                                                                 S .D . OF FLA. - W .P .B .

  KILROY BAILEY,
  a/k/a "Earthquake,"
  a/k/a "Quake,"

                        Defendant .



                                           INDICTMENT


         THE GRAND JURY CHARGES THAT :

                                            COUNT 1

         On or about September 25, 2004, in Palm Beach County, in the Southern District

 of Florida, the defendant,

                                         KILROY BAILEY,
                                       a/k/a "Ea rthquake,"
                                          a/k/a "Quake, "

  having previously been convicted of a crime punishable by imprisonment for a ter m

 exceeding one year, did knowingly possess a firearm in or affecting commerce, that is, a
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  Davis .32 caliber semi-automatic pistol .

         In violation of Title 18, United States Code, Sections 922(g)(1) and 924(e) .



                                              COUNT 2

         On or about October 6, 2004, in Palm Beach County, in the Southern District of

  Florida, the defendant,

                                      KILROY BAILEY,
                                    a/k/a "Ea rthquake,"
                                       a/k/a "Quake, "

  having previously been convicted of a crime punishable by imprisonment for a term

  exceeding one year, did knowingly possess a firearm, and one or more rounds of

  ammunition, in or affecting commerce, that is, a Davis .32 caliber semi-automatic pistol,

  and approximately three (3) rounds of Winchester manufactured ammunition .

         In violation of Title 18, United States Code, Sections 922(g)(1) and 924(e) .



                                          COUNT 3

        On or about October 6, 2004, in Palm Beach County, in the Southern District of

  Florida, the defendant,

                                      KILROY BAILEY,
                                    a/k/a "Ea rthquake,"
                                       a/k/a "Quake, "

  did knowingly possess a firearm, to wit, a Davis .32 caliber semi-automatic pistol, whic h

  had previously been shipped or transported in interstate or foreign commerce, whic h




                                                -2-
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  firearm had the importer's or manufacturer's serial number removed, obliterated, or altered .

         In violation of Titlel8, United States Code, Sections 922(k) and 924( a)(1) .

                                            A TRUE BILL :



                                                 xx~~- S .
                                                REPERSO N




   ARCOS DAIQIEL JIMENEZ
  UNITED STATES ATTORNE Y




    HN C. McMILLAN, J
   SSISTANT UNITED STATES ATTORNEY
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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      PENALTY SHEET

  Defendant ' s Name :       KILROY BAILEY a/k/a "Earthquake," a/k/a "Quake"

  Case No .


  Count # : 1
                    18 USC §§ 922(q)(1) and 924(e )



  *Max. Penalty : 15 Years to Life Imprisonment ; $250,000 Fin e


  Count # : 2
                    18 USC §§ 922( q)(1) and 924(e )



 *Max . Penalty : 15 Years to Life Imprisonment ; $250,000 Fin e


 Count # : 3
                    18 USC $§ 922(k) and 924(a)(1 )



 *Max. Penalty : 0-10 Years Imprisonment ; $250,000 Fine


 Count # :




 *Max . Penalty :


 Count #:




 *Max . Penalty:



 *Refers only to possible term of incarceration , does not include possible fines , restitution,
 special assessments , parole terms , or forfeitures that may be applicable .
                                                                                      REV. 12/12/96
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                          INITED STATES DISTRICT  COUP
                         SOUTHERN DISTRICT OF FLORIL.,
UNITED STATES OF AMERIC A                      CASE NO.
vs.
                                               CERTIFICATE OF TRIAL ATTORNEY *
KILROY BAILEY ,
a/k/a "Earthquake," a/k/a "Quake,"             Superseding Case Information :
                              Defendant /
Cou rt Division : (Select one )                New Defendant(s) Yes No
                                               Number of New Defendants
         Miami Key West                        Total number of count s
         FTL WPB FTP
         I do hereby certify that:
         1 . I have carefully considered the allegations of the indictment, the number of defendants, the
                  number of probable witnesses and the legal complexities of the Indictment/Information
                  attached hereto.
         2. I am aware that the information supplied on this statement will be relied upon by the Judges
                of this Court in setting their calendars and scheduling criminal trials under the mandate of the
                Speedy Trial Act, Title 28 U .S.C . Section 3161 .
         3. Interpreter : (Yes or No)             No
               List language and/or dialect
         4 . This case will take        2-3     days for the parties to try.
         5 . Please check appropriate category and type of offense listed below :
                 (Check only one)             (                 Check only one )

        1 0 to 5 days Petty
        II 6 to 10 days Minor
        III 11 to 20 days Misdem .
        IV 21 to 60 days Felony
        V 61 days and ove r
         6. Has this case been previously filed in this District Court? (Yes or No)             No
         If yes :
         Judge : Case No.
         (Attach copy of dispositive order )
         Has a complaint been filed in this matter? (Yes or No) No
         If yes :
         Magistrate Case No .       N/A
         Related Miscellaneous numbers:      N/A
         Defendant s in federal custody as of    N/A
         Defendant(s) in state custody as of 10/26/0 4
         Rule 20 from the     N/A                    District of
         Is this a potential death penalty case? (Yes or No)     No
         7 . Does this case originate from a matter pending in the U .S . Attorney's Office prior to
               April 1, 2003? Yes         X    No
         8. Does this case originate from a matter pending in the U . S. Attorney's Office prior to
               April 1, 1999? Yes X N o
               If yes, was it pending in the Central Region? Yes N o
         9. Does this case originate from a matter pending in the Northern Region of the U .S . Attorney's
               Office prior to October 14, 2003? Yes X                No
        10 . Does this case originate from a matter n i the N                      cotics
                May 18 , 2003 ? Yes X        N

                                                              C . McMILLAN , JR .I,
                                                         S STANT UNITED STATES ATTORNE Y
                                                            in. No. A5500228
Penalty Sheet (s) attached                                                                    REV .1/14/04
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